         Case 1:22-cv-11421-ADB Document 58 Filed 11/11/22 Page 1 of 18




                          UNITED STATES DISTRICT COURT
                                             for the
                                 District of Massachusetts


 JOSE MARIA DECASTRO, an individual              )   Case No. 1:22-cv-11421
                                                 )
 Plaintiff,                                      )   MOTION TO CORRECT RECORD OR
                                                 )   ALTERNATIVELY TO RECONSIDER
 v.                                              )   MOTION TO TRANSFER VENUE,
                                                 )   PRELIMINARY INJUNCTION
 JOSHUA ABRAMS, an individual, et al.,           )
                                                 )
 Defendants.                                     )
 ____________________________________

         MOTION TO CORRECT RECORD OR ALTERNATIVELY TO RECONSIDER

              MOTION TO TRANSFER VENUE, PRELIMINARY INJUNCTION


      I, Jose DeCastro, Plaintiff hereby move this Honorable Court to correct its record under

Fed. R. Civ. P. 60(a) and record the Plaintiff’s Voluntary Dismissal and notice as filed before the

Defendant’s answers to my complaint, which is true and in the interest of justice. In the

alternative, to reconsider my Motion to Transfer Venue (#52 in the docket), and move for

preliminary injunction.

      In support of this Motion, I hereby incorporate the attached Memorandum in Support.


Dated: November 10, 2022                         Respectfully submitted,

                                                 /s/ Jose DeCastro
                                                 Jose DeCastro
                                                 1258 Franklin St.
                                                 Santa Monica, CA 90404
                                                 chille@situationcreator.com
                                                 (310) 963-2445
                                                 Pro Se
         Case 1:22-cv-11421-ADB Document 58 Filed 11/11/22 Page 2 of 18




                         UNITED STATES DISTRICT COURT
                                              for the
                                  District of Massachusetts


 JOSE MARIA DECASTRO, an individual                )   Case No. 1:22-cv-11421
                                                   )
 Plaintiff,                                        )   PLAINTIFF’S MEMORANDUM IN
                                                   )   SUPPORT OF MOTION TO
 v.                                                )   CORRECT RECORD OR
                                                   )   ALTERNATIVE MOTIONS
 JOSHUA ABRAMS, an individual, et al.,             )
                                                   )
 Defendants.                                       )
 ____________________________________

              PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO CORRECT

      RECORD OR ATLERNATLIVEY TO TRANSFER VENUE, PRELIMINARY

                                          INJUNCTION


      Under Fed R. Civ. P. 41(a)(1)(A)(i), a Plaintiff has the absolute right to dismiss, an action

that is has brought, before the opposing party serves either an answer or a motion for summary

judgement.

      I filed a Notice of Voluntary Dismissal (“NVD”) prior to being served with answers or

motions for summary judgement. There was an apparent error that I am completely not at fault

for, which the court is responsible for investigating and resolving in the interest of justice. The

court doesn’t appear to have made an investigation, so I am moving this court to do so.

      The Court has said that I did not explain why I did not refile the document until it appeared.

I was never notified that filings would immediately appear in the electronic record, and in fact

my experience was the opposite. I had previously e-filed documents where I was notified that it

was too late to file and that the document would be filed later. I expected the NVD to appear on


                                                  2
         Case 1:22-cv-11421-ADB Document 58 Filed 11/11/22 Page 3 of 18




Monday, and was surprised when the Defendant’s documents, that had been filed after mine,

showed before mine. Non-party attorney, Jon Rietveld, who has been reporting on this case, even

made a video suggesting his followers wait “until the dust settled”, that clerks don’t typically

work on the weekend, and it might take some time to file all the documents, and that they might

not appear in order. I say this simply to point out that I am not the only person that thought this

was how e-filing worked. If I had known that if a document didn’t immediately appear, that I

needed to keep filing until it did, I would have followed that process. I also believe that we

would have had many duplicate documents filed, due to the delays that I have witnessed in the

past. I’m requesting an evidentiary hearing to bring witnesses as to how a reasonable person

might expect e-filing to work, as well as to talk to your IT people after they’ve investigated and

to discover electronic evidence of my submittal.

     The Court has said that I submitted no evidence to show that I drafted my NVD before the

NEF of the answers. I declare that I did and include Exhibit 1 which is the metadata on the PDF

for the NVD that I prepared and is a true and correct copy. In Exhibit 2, I submit to you

metadata from my computer showing my submission of the e-file, although your IT department

likely has better data. I collected this metadata and it is a true and correct copy. a YouTube video

that I published that began streaming at 2022-11-06T17:42:46+00:00 titled in part “… Lawsuits

are withdrawn,” and published at https://www.youtube.com/watch?v=fSYwoLfHCNg. I

collected this metadata and it is a true and correct copy. Defendant Katherine Peter (“Peter”)

published a YouTube video that began streaming at 2022-11-07T02:00:13+00:00 titled in part

“Chille’s Sad Breakup…” and published at https://www.youtube.com/watch?v=NISnWPioMQk.

In the video, Peter says, “I know why you’re all here right now. I do, uh. You’re thinking that

we’re going to have some sort of big update. Um, none whatsoever. I’m treating it as I, you



                                                   3
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know, as of right now 9:02, sorry 9:03 PM, on Sunday the sixth of November, I am still being

sued, and I am treating it as such.” I collected the metadata and transcribed this and it is true and

correct. In Exhibit 3, I include email notices including the NVD (#56 in the record), sent to the

opposition prior to the NEF of the answers, which I prepared and is a true and correct copy. In

Exhibit 4, I include an email reply from Defendant Abrams’s attorney of record, replying to that

email, to show proof of delivery. I prepared this document, and it is a true and correct copy. I

also submit the Defendant’s answers in the record at #53 and #54, which were obviously hastily

prepared. They both offer permissive counter complaints that contain state claims, do not

establish jurisdiction or authority for relief, or offer anything other than general denial. Either the

Defendant attorneys have suddenly gotten dumb, or these were hastily prepared, which I offer as

evidence as to their notice of dismissal and their obvious desire to try to beat me in a race of time

to file, which they obviously won due to their continued exercise of their position and

manipulation of this Court that is prejudicial against me and to keep their claims in the Court

where they continue to exercise that position. Further, when I filed my Motion to Transfer Venue

(“MTV”) (#50), this Court suggested that I dismiss this case instead (#51). Although I

considered asking this court to reconsider my MTV, it seemed more proper to file the dismissal

instead of questioning the Court’s legal analysis. The series of events in context makes it obvious

to expect that an NVD was my next move. Finally, I have a text message chain between me and

my legal team where we discuss NVD strategy, the preparation of the NVD, and the successful

filing of it, which I will submit in the evidentiary hearing or in my reconsideration of this

motion.

     I have raised concerns in my MTV, but you replaced my valid complaints with the

assumption of a “change of heart”. The fact is that I didn’t know that it was my right to file this



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action in California, and as soon as I learned that, and realized how difficult it would be to bring

this to trial due to witnesses and parties being in California, I attempted to move it. Although I

understand your reading the motion in the light most favorable to the non-moving party, I ask

this court to reconsider the MTV. In the defamation video by Defendant Peter, she cites judicial

record in Los Angeles County, and alleges having spoken to witnesses in the same county. I have

given YouTube 14 day notice of intent to sue, and when I add them to this complaint, this case

will no longer be diverse. I don’t expect YouTube to stipulate to this remaining in this district.

Since YouTube did not keep their promise to enforce policies, I believe they are partially

responsible for some of the damages under a claim of promissory estoppel. Not including them

will prejudice the Defendants. Additionally, I am obviously being prejudiced when participating

in this Court. I am a pro se plaintiff that should be guaranteed some leeway, in the interest of

justice, and it is obvious that the Defendants took advantage of notice of my NVD to try to sneak

in completely unfinished answers and counter complaints. I am being prejudiced due to the error

by the electronic filing system, and the Defendants are gaining an unfair advantage. This is not

the first time that I’ve been prejudiced against. An affidavit that I had couriered to the Court last

month has still not been filed. The Clerk still has not responded to my inquiries into what format

to submit videos for the Court’s review. Documents that I file don’t always show up, and the

Defendants always seem to be able to get their documents filed first. To me it looks like either

magic or collusion.

     I will take necessary actions to preserve my right to appeal any action that interferes with

my absolute right to dismiss. Proceeding, while preserving my appeal to voluntary dismissal, due

to error by the court, and against a pro se plaintiff, will give me an advantage if I lose on the

merits.



                                                  5
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     At least one clear case of defamation per se is a story published by Peters on YouTube. The

story is titled “Chille DeCastro Once Sold The Date Rape Drug and Might Be A Snitch, Will Sue

us for Mocking Him”. The story was published May 22, 2022 at

https://www.youtube.com/watch?v=85YEdqvbqX4. The title itself is actionable libel and Peter

clearly shows in the video accompanying the story that it is not true. The alleged judicial record

that she admits is not from a reliable source and in fact not a judicial record, shows an arrest, not

a conviction, and not the date rape drug, which is Rohypnol, a.k.a. “roofie”. I transcribed this

metadata from my computer and it is a true and correct copy.

     Due to my likelihood to win this on the merits, I request a preliminary injunction for the

removal of the forementioned story and accompanying video from public availability, as well as

protection from further defamatory statements.

     I also will proceed to my earlier motion for sanctions for spoliation and the jury instruction

for that as well as jury instructions appropriate for the unavailability of out of state witnesses that

the defense will struggle to produce due to its defamatory case allegedly involving Los Angeles

witnesses.

     I have yet to amend my complaint, and it could easily be amended to dismiss my action,

and it would break precedent to try to sanction or find a pro se filer in contempt for doing so,

especially in the interest of justice. Additionally, the responses provided are obviously hastily

prepared and are not a great loss, as the counter complaints will not survive even the simplest

attacks on jurisdiction. Since the answers were just filed and lack any substance, this Court is not

invested in this case. It will save the Defendants time and money for this action to be dismissed

rather than to proceed only to lose an appeal later so with that in mind, I pray for this Court, in

the interest of justice and the forementioned reasons, to investigate and locate the missing NVD



                                                   6
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filing and correct the record, but alternatively to transfer venue, grant a preliminary injunction.



     I declare under penalty of perjury, that the foregoing is true and correct.


                                     REQUEST FOR HEARING

     Pursuant to L.R. 7.1(d), I hereby request an evidentiary hearing and/or oral argument – at

the Court’s election – on the issues presented in this motion.

                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

     The court has waived this local rule for the remainder of this action.


Dated: November 10, 2022                          Respectfully submitted,

                                                  /s/ Jose DeCastro
                                                  Jose DeCastro
                                                  1258 Franklin St.
                                                  Santa Monica, CA 90404
                                                  chille@situationcreator.com
                                                  (310) 963-2445
                                                  Pro Se

                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.




                                                  7
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                  EXHIBIT 1




                              8
11/9/2022              Case 1:22-cv-11421-ADB Document 58    Filed 11/11/22 Page 9 of 18
                                                        History



             History

            Sunday, November 6, 2022

                   12:42 PM        Channel content - YouTube Studio studio.youtube.com

                   12:42 PM        Video details - YouTube Studio studio.youtube.com

                   12:41 PM        Stream customization - YouTube Studio studio.youtube.com

                   12:38 PM        (152) YouTube www.youtube.com

                   12:38 PM        Let’s End Hate and Show the Love & Fo…   www.youtube.com

                   12:38 PM        Video details - YouTube Studio studio.youtube.com


                   12:17 PM        ecf.mad.uscourts.gov ecf.mad.uscourts.gov

                   12:17 PM        CM/ECF - USDC Massachusetts - Ve… ecf.mad.uscourts.gov

                   12:15 PM        CM/ECF - USDC Massachusetts - Ve… ecf.mad.uscourts.gov

                   12:15 PM        CM/ECF - USDC Massachusetts - Ve… ecf.mad.uscourts.gov

                   12:15 PM        CM/ECF - USDC Massachusetts - Ve… ecf.mad.uscourts.gov

                   12:15 PM        CM/ECF - USDC Massachusetts - Ve… ecf.mad.uscourts.gov

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                   12:13 PM        CM/ECF - USDC Massachusetts - Ve… ecf.mad.uscourts.gov

                   12:12 PM        CM/ECF - USDC Massachusetts - Ve… ecf.mad.uscourts.gov

                   12:12 PM        PACER: Login pacer.login.uscourts.gov

                   12:12 PM        Court CM/ECF Lookup | PACER: Feder…      pacer.uscourts.gov

                   12:11 PM        pacer login - Google Search www.google.com

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                                                              Withdrawn



                                                                                  Delete Lawz <deletelawz@gmail.com>


  re: Withdrawn
  9 messages

  Delete Lawz <deletelawz@gmail.com>                      Mon, Nov 7, 2022 at 8:04 AM
  To: "Wish, Benjamin" <bwish@toddweld.com>, Josh Abrams Accountability For All All
  <josha1487@gmail.com>
  Bcc: Discussing Law <discussinglaw@gmail.com>

    re: We have set specific stipulations. Please, see that you follow them or you
    may face future litigation.

    Regards,
    Jose M. DeCastro

             motion-to-dismiss.pdf
             107K


  Wish, Benjamin <bwish@toddweld.com>                                                               Mon, Nov 7, 2022 at 8:20 AM
  To: Delete Lawz <deletelawz@gmail.com>
  Cc: Joshua Garick <Joshua@garicklaw.com>



    Mr. DeCastro,

    What stipulations are you referring to?

    We have not stipulated to anything.

    Thank you.

    Benjamin J. Wish
    Todd & Weld LLP
    One Federal Street, Boston, MA 02110
    T: 617-624-4786
    www.ToddWeld.com



              On Nov 7, 2022, at 8:05 AM, Delete Lawz <deletelawz@gmail.com> wrote:



https://mail.google.com/mail/u/0/?ik=841eaec829&view=pt&search=all&permthid=thread-a%3Ar-2251848123740803904&simpl=msg-a%3Ar-22964651877711445…   1/5
11/10/2022            Case 1:22-cv-11421-ADB Document 58- re: Filed
                                                   Gmail              11/11/22 Page 11 of 18
                                                              Withdrawn

              re: We have set specific stipulations. Please, see that you follow
              them or you may face future litigation.

              Regards,
              Jose M. DeCastro




    This e-mail, and any attachments thereto, is intended only for the addressee(s) named
    herein and may contain legally privileged and/or confidential information. If you are not
    the intended recipient, you are hereby notified that any dissemination, distribution or
    copying of this e-mail, and any attachments thereto, is strictly prohibited. If you have
    received this e-mail in error, please immediately notify me by return e-mail and
    permanently delete the original and any copy of this e-mail message and any printout
    thereof.

    To ensure compliance with requirements imposed by the U.S. Internal Revenue Service,
    we inform you that any U.S. tax advice contained in this communication (including any
    attachments) is not intended or written to be used, and cannot be used, for the purpose
    of avoiding U.S. tax penalties.

             motion-to-dismiss.pdf
             107K


  Delete Lawz <deletelawz@gmail.com>                                                              Mon, Nov 7, 2022 at 11:17 AM
  To: Joshua Garick <Joshua@garicklaw.com>

    Apologies Mr. Garick.

    I was sending this to you and I accidentally sent it to Josh.

    Forgive me for my error

    Jose M DeCastro

    Sent from my iPhone

    Begin forwarded message:


              From: Delete Lawz <deletelawz@gmail.com>
              Date: November 7, 2022 at 8:04:49 AM GMT-5
              To: "Wish, Benjamin" <bwish@toddweld.com>, Josh Abrams Accountability
              For All All <josha1487@gmail.com>
              Subject: re: Withdrawn

https://mail.google.com/mail/u/0/?ik=841eaec829&view=pt&search=all&permthid=thread-a%3Ar-2251848123740803904&simpl=msg-a%3Ar-22964651877711445…   2/5
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                                                              Withdrawn



              [Quoted text hidden]




             motion-to-dismiss.pdf
             107K


  Delete Lawz <deletelawz@gmail.com>                                                              Mon, Nov 7, 2022 at 11:36 AM
  To: Joshua Garick <Joshua@garicklaw.com>
  Bcc: appliedautism@gmail.com

    Mr. wish

    I’m pleased to get to know the way you are and who you are.

    Snake in grass blood sucking lawyer.

    You’re a real scumbag.

    Good luck at Heaven’s Gate

    Jose M DeCastro

    Sent from my iPhone


              On Nov 7, 2022, at 11:17 AM, Delete Lawz <deletelawz@gmail.com> wrote:


              Apologies Mr. Garick.
              [Quoted text hidden]




             motion-to-dismiss.pdf
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  Joshua Garick <Joshua@garicklaw.com>                                                            Mon, Nov 7, 2022 at 12:06 PM
  To: Delete Lawz <deletelawz@gmail.com>


    Mr. DeCastro:

https://mail.google.com/mail/u/0/?ik=841eaec829&view=pt&search=all&permthid=thread-a%3Ar-2251848123740803904&simpl=msg-a%3Ar-22964651877711445…   3/5
11/10/2022            Case 1:22-cv-11421-ADB Document 58- re: Filed
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                                                              Withdrawn




    Since your notice of dismissal was not properly served (see Fed. R. Civ. P. 5), it is
    ineffective and you can only dismiss the claims now with a stipulation of dismissal signed
    by all parties. See Fed. R. Civ. P. 41(a)(1)(A)(ii). Mr. Abrams would agree to dismissal if
    you dismiss claims as to him with prejudice. While you would be abandoning claims
    against Mr. Abrams, that would still leave you free to pursue claims against Ms. Peter,
    who I suspect is the person you really have an axe to grind with here.



    Let me know if you will agree, and we can file a stipulation of dismissal without delay.



    Thanks,

    Josh

    [Quoted text hidden]


  Delete Lawz <deletelawz@gmail.com>                   Mon, Nov 7, 2022 at 12:57 PM
  To: Mark Adams Website Adams <appliedautism@gmail.com>



    Sent from my iPhone

    Begin forwarded message:


             From: Joshua Garick <Joshua@garicklaw.com>
             Date: November 7, 2022 at 12:06:59 PM GMT-5
             To: Delete Lawz <deletelawz@gmail.com>
             Subject: RE: Withdrawn



             [Quoted text hidden]



  Delete Lawz <deletelawz@gmail.com>                                                                Mon, Nov 7, 2022 at 1:11 PM
  To: Joshua Garick <Joshua@garicklaw.com>
  Bcc: appliedautism@gmail.com

    Mr Garick

    This is NOT service. We have been clear, we are not accepting service via email.
https://mail.google.com/mail/u/0/?ik=841eaec829&view=pt&search=all&permthid=thread-a%3Ar-2251848123740803904&simpl=msg-a%3Ar-22964651877711445…   4/5
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                                                   Gmail              11/11/22 Page 14 of 18
                                                              Withdrawn



    Sorry, bro. Good luck. The judge has ruled that we do not need to confer with you before
    we file.

    We’ll see how it shakes out.

    Regard,
    DeCastro

    Sent from my iPhone


             On Nov 7, 2022, at 12:06 PM, Joshua Garick <Joshua@garicklaw.com> wrote:



             [Quoted text hidden]



  Joshua Garick <Joshua@garicklaw.com>                                                              Mon, Nov 7, 2022 at 1:43 PM
  To: Delete Lawz <deletelawz@gmail.com>


    Ok, no problem.

    [Quoted text hidden]


  Delete Lawz <deletelawz@gmail.com>                                                             Thu, Nov 10, 2022 at 11:27 PM
  Draft To: Joshua Garick <Joshua@garicklaw.com>



    Sent from my iPhone


             On Nov 7, 2022, at 12:06 PM, Joshua Garick <Joshua@garicklaw.com> wrote:




             Mr. DeCastro:

             [Quoted text hidden]




https://mail.google.com/mail/u/0/?ik=841eaec829&view=pt&search=all&permthid=thread-a%3Ar-2251848123740803904&simpl=msg-a%3Ar-22964651877711445…   5/5
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                                                                 - NOTICE        11/11/22
                                                                          Not Showing up (DeCastroPage   15 of 18
                                                                                                  v Abrams)



                                                                         Chille DeCastro <iamalaskan@gmail.com>


  Re: 1:22-cv-11421 - NOTICE Not Showing up (DeCastro v
  Abrams)
  1 message

  Chille DeCastro <iamalaskan@gmail.com>                Tue, Nov 8, 2022 at 11:52 PM
  To: Caetlin McManus <Caetlin_McManus@mad.uscourts.gov>
  Bcc: Mark Adams Website Adams <appliedautism@gmail.com>

    Clerk McManus,

    Well then; it didn't work. Perhaps I made an error. As you can see from the Google Meta-
    Data, I thought I did it. I created a video testimonial right after I submitted it the Voluntary
    Notice of Withdrawal. As you can see the Notice is dated November 5th.

    I hope this can work out.

    Thank you,
    Jose M. DeCastro




    On Tue, Nov 8, 2022 at 3:57 PM Caetlin McManus <Caetlin_McManus@mad.uscourts.
    gov> wrote:

        Mr DeCastro,



        A colleague has checked for me and said that you do not have any Pacer transactions for the
        month of November. The only thing I can suggest is that you try again. If you successfully ﬁle anything, you will
        get an electronic notice of ﬁling by email, right away, that will serve as your conﬁrmation.




        Thank you!




        Caetlin




https://mail.google.com/mail/u/3/?ik=48d7c42e4e&view=pt&search=all&permthid=thread-a%3Ar4470314660873697385%7Cmsg-a%3Ar1359458184835943500&s…   1/4
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                                                                          Not Showing up (DeCastroPage   16 of 18
                                                                                                  v Abrams)




        Caetlin McManus

        Docket Clerk

        Ofﬁce of the Clerk

        U.S. District Court, District of Massachusetts

        One Courthouse Way, Suite 2300

        Boston, MA 02210

        (617) 748-9041




        From: Caetlin McManus
        Sent: Tuesday, November 8, 2022 12:57 PM
        To: Chille DeCastro <iamalaskan@gmail.com>
        Subject: RE: 1:22-cv-11421 - NOTICE Not Showing up (DeCastro v Abrams)



        Good afternoon Mr. DeCastro,



        Sorry I missed your call. I am looking into this, but did you get any email notices when
        you attempted to file your Notice?



        Please be patient, I’ll let you know when we have more information in response to your
        inquiry.



        Caetlin

        Caetlin McManus

        Docket Clerk

        Ofﬁce of the Clerk

        U.S. District Court, District of Massachusetts

https://mail.google.com/mail/u/3/?ik=48d7c42e4e&view=pt&search=all&permthid=thread-a%3Ar4470314660873697385%7Cmsg-a%3Ar1359458184835943500&s…   2/4
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                                   Gmail - Re: 1:22-cv-11421    58 Filed
                                                             - NOTICE        11/11/22
                                                                      Not Showing up (DeCastroPage   17 of 18
                                                                                              v Abrams)

        One Courthouse Way, Suite 2300

        Boston, MA 02210

        (617) 748-9041




        From: Chille DeCastro <iamalaskan@gmail.com>
        Sent: Tuesday, November 8, 2022 2:26 AM
        To: Caetlin McManus <Caetlin_McManus@mad.uscourts.gov>
        Subject: re: 1:22-cv-11421 - NOTICE Not Showing up (DeCastro v Abrams)




        CAUTION - EXTERNAL:




        To Clerk of Court Caetlin McClerk McManus,

        I filed this Notice of Motion for voluntary dismissal on Sunday, November 6th, 2022 at
        12:17pm. Here's the metadata from Google Chrome.

        The Notice of Voluntary Dismal is NOT showing up on Pacer and the timing of the filing
        is critical.



        Can you please let me know what's going on? Why isn't it showing up?

        Thank you,
        Jose M. DeCastro




         CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
         attachments or clicking on links.




https://mail.google.com/mail/u/3/?ik=48d7c42e4e&view=pt&search=all&permthid=thread-a%3Ar4470314660873697385%7Cmsg-a%3Ar1359458184835943500&s…   3/4
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                                       Gmail - Re: 1:22-cv-11421    58 Filed
                                                                 - NOTICE        11/11/22
                                                                          Not Showing up (DeCastroPage   18 of 18
                                                                                                  v Abrams)


     3 attachments
             GoogleHistory_Nov_6_2022_DeCastro_v_Abrams.pdf
             314K
             VideoTestimony_Withdrawn_DeCastro_V_Abrams.pdf
             638K
             motion-to-dismiss.pdf
             107K




https://mail.google.com/mail/u/3/?ik=48d7c42e4e&view=pt&search=all&permthid=thread-a%3Ar4470314660873697385%7Cmsg-a%3Ar1359458184835943500&s…   4/4
